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1
                                  UNITED STATES DISTRICT COURT
2
                                             FOR THE
3                                     DISTRICT OF COLUMBIA
4
     UNITED STATES OF AMERICA,
5
                     Plaintiff,
6
     vs.                                                               21-MJ-00014 (GMH)
7

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9    ANTHIME GIONET,
10                   Defendant
11

12                                              NOTIFICATION
13
             Pursuant to term 3 of the March 29, 2021, conditions of release, Defendant has notified
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     his pretrial services officer of a change in address from Arizona to a Florida address to be
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16
     effective November 1, 2021. Defendant has provided the full new address to the pretrial

17   services officer. Counsel files this notice as an additional measure and for the Courts knowledge.
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     For privacy purposes counsel will not provide the new address in this notice but will be happy
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     to update the court if required or if notice to the pretrial services officer is insufficient.
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     Respectfully submitted this 7th day of October 2021.
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     Case 1:21-mj-00014-GMH Document 39 Filed 10/07/21 Page 2 of 2



1                                  THORNLEY LAW FIRM, PC.
2
                                   /s/Zachary Thornley
3                                   Arizona State Bar No: 032363
                                    Thornley Law Firm
4                                   1650 N. Dysart Rd. Suite 4
                                    Goodyear, AZ. 85395
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                                    ATTORNEY FOR DEFENDANT
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